                    No. 24-10951


IN THE UNITED STATES COURT OF APPEALS
        FOR THE FIFTH CIRCUIT

                    RYAN, L.L.C.,
                                Plaintiff-Appellee,

    CHAMBER OF COMMERCE OF THE UNITED STATES
OF AMERICA; BUSINESS ROUNDTABLE; TEXAS ASSOCIATION
   OF BUSINESS; LONGVIEW CHAMBER OF COMMERCE,

                                Intervenor-Plaintiffs-Appellees,

                          v.

            FEDERAL TRADE COMMISSION,
                                Defendant-Appellant.


    On Appeal from the United States District Court
         for the Northern District of Texas


      OPENING BRIEF FOR APPELLANT


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      A certificate of interested persons is not required, as defendant-appellant is a

government party. 5th Cir. R. 28.2.1.

                                                      s/ Urja Mittal
                                                     URJA MITTAL
               STATEMENT REGARDING ORAL ARGUMENT

       The district court universally vacated a rule issued by the Federal Trade

Commission. The rule reflects the Commission’s determination that most non-

competes are unfair methods of competition prohibited by the FTC Act. 15 U.S.C.

§ 45(a)(1). Given the interests of the Commission and the public in enforcement of

the rule, the government respectfully requests that the Court hold oral argument in

this appeal.




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                                 INTRODUCTION

      More than a century ago, Congress provided that “[u]nfair methods of

competition in or affecting commerce” are “unlawful.” 15 U.S.C. § 45(a)(1). Congress

also established the Federal Trade Commission, a bipartisan expert agency

“empowered and directed to prevent” entities “from using unfair methods of

competition.” Id. § 45(a)(2). Congress vested the Commission with powers to carry

out that directive, including the power “to make rules and regulations.” Id. § 46(g).

      Non-competes, as their name indicates, restrain competition by preventing

workers from taking a job with a competing employer or starting a competing

business. Employers across industries now use non-competes to restrict the job

mobility of not just senior executives and highly skilled employees but also low-wage

and entry-level workers. Non-competes negatively affect competitive conditions by

suppressing wages, inhibiting new business formation and job creation, and

decreasing innovation.

      In 2018, the Commission began evaluating whether non-competes are unfair

methods of competition prohibited by the FTC Act. The Commission solicited and

reviewed tens of thousands of comments from the public—which resoundingly

supported defining non-competes as unfair methods of competition—and analyzed

economic evidence about the proliferation and effects of non-competes.

      After evaluating the evidence, the Commission determined that non-competes

meet the standard for unfair methods of competition prohibited by the FTC Act. The
Commission subsequently promulgated the Non-Compete Rule, which defines most

existing non-competes as unfair methods of competition and therefore unenforceable

(subject to an exception for certain senior executives) and bans the future use of most

non-competes. Non-Compete Clause Rule, 89 Fed. Reg. 38,342 (May 7, 2024).

       The district court took no issue with most of the Commission’s factual and

legal conclusions. In particular, the court did not quarrel with the Commission’s

expert finding that an employer’s use of non-competes is an unfair method of

competition. The district court nevertheless deemed the Non-Compete Rule invalid

and vacated it universally.

       First, disregarding the plain text of the FTC Act and Supreme Court precedent,

the district court concluded that the Commission lacks statutory authority to issue

rules defining unfair methods of competition. The court asserted that the FTC Act

provision authorizing the Commission to “make rules and regulations for the purpose

of carrying out” the Act, 15 U.S.C. § 46(g), permits the Commission to issue only

“housekeeping” rules or “rules of agency organization procedure or practice.”

ROA.5628-29 (quotation omitted). Neither the statutory text nor any principle of

statutory construction supports the district court’s cramped view of the Commission’s

authority. The FTC Act authorizes the Commission to issue rules defining unfair

methods of competition and does not limit the Commission to issuing

“housekeeping” or procedural rules. Statutory context and history confirm that

Congress gave the Commission the authority to promulgate binding rules.
                                           2
      The district court also concluded that the Rule is arbitrary and capricious based

on several fundamental misunderstandings of the rulemaking record. The

Commission reasonably examined extensive evidence regarding the negative effects of

non-competes on competitive conditions and explained that the evidence supported

the Commission’s determination that non-competes meet the standard for unfair

methods of competition. The Commission also explained why the Non-Compete

Rule was an appropriate response, and each of the district court’s contrary

conclusions is contradicted by the record.

      The district court compounded its errors by entering a universal vacatur of the

Rule, despite previously recognizing that universal relief was not necessary to redress

the injuries plaintiffs asserted. This Court should reverse.

                        STATEMENT OF JURISDICTION

      The district court had jurisdiction under 28 U.S.C. § 1331. The court entered

final judgment on August 20, 2024. ROA.5639. The government filed a timely notice

of appeal from final judgment on October 18, 2024. ROA.5640; see Fed. R. App. P.

4(a)(1)(B). This Court has jurisdiction under 28 U.S.C. § 1291.

                          STATEMENT OF THE ISSUES

      The district court universally vacated the Rule on the grounds that the

Commission lacks statutory authority to issue substantive rules defining unfair

methods of competition and that the Rule is arbitrary and capricious. The issues

presented are:
                                             3
      1. Whether the FTC Act empowers the Commission to issue substantive rules

defining a practice as an unfair method of competition;

      2. Whether the Rule is arbitrary and capricious; and

      3. Whether the district court’s universal vacatur was impermissibly overbroad.

                          STATEMENT OF THE CASE

      A.     Legal Background
      1. The Federal Trade Commission Act, originally enacted in 1914 and since

amended on various occasions, “declared unlawful” all “[u]nfair methods of

competition in or affecting commerce.” 15 U.S.C. § 45(a)(1). The Act also declared

unlawful “unfair or deceptive acts or practices in or affecting commerce.” Id.

      In addition, the FTC Act established the Commission as a bipartisan expert

agency with authority to enforce the Act’s prohibitions. The Act “empowered and

directed” the Commission “to prevent persons” and other entities subject to the

Commission’s jurisdiction “from using unfair methods of competition in or affecting

commerce.” 15 U.S.C. § 45(a)(2).

      Congress endowed the Commission with various powers to help it carry out its

mandate to enforce the FTC Act’s mandates, two of which are particularly relevant

here. First, in Section 5(b),1 Congress empowered the Commission to initiate



      1
         Consistent with the Non-Compete Rule and the district court’s opinion, this
brief refers to 15 U.S.C. §§ 45 and 46 as Sections 5 and 6 (of the FTC Act),
respectively.
                                            4
administrative enforcement actions when it determines an entity “has been or is using

any unfair method of competition.” 15 U.S.C. § 45(b). Second, in Section 6, titled

“[a]dditional powers of Commission,” Congress provided that the “Commission shall

also have power” to “make rules and regulations for the purpose of carrying out the

provisions of” the FTC Act. Id. § 46(g). This provision also states that the

Commission shall have the power to “classify corporations.” Id.

       2. When Congress enacted the FTC Act, the phrase “unfair methods of

competition” was a new statutory term, not defined in the Act itself. The FTC Act

was enacted after the Sherman Act and almost contemporaneously with the Clayton

Act—two other antitrust statutes that the Commission enforces. The Supreme Court

subsequently recognized that the FTC Act’s prohibition on “unfair methods of

competition” was designed to “supplement and bolster,” rather than merely duplicate,

the Sherman and Clayton Acts. FTC v. Motion Picture Advert. Serv. Co., 344 U.S. 392,

394-95 (1953). Specifically, the FTC Act empowered the Commission “to combat in

their incipiency trade practices that exhibit a strong potential for stifling competition.”

FTC v. Texaco, Inc., 393 U.S. 223, 225 (1968). “[T]he task of defining ‘unfair methods

of competition’ was left to the Commission,” id., which would be required “‘to apply

the rule enacted by Congress to particular business situations,’” Atlantic Ref. Co. v.

FTC, 381 U.S. 357, 367 (1965). Congress “explicitly considered[] and rejected” the

task of defining unfair methods of competition itself, instead granting the


                                             5
Commission the flexibility and authority to address evolving unfair methods of

competition. FTC v. Sperry & Hutchinson Co., 405 U.S. 233, 240 (1972).

       As explained in a recent Commission policy statement synthesizing the relevant

case law, an “unfair method of competition” is characterized by two features. See

FTC, Commission File No. P221202, Policy Statement Regarding the Scope of Unfair

Methods of Competition Under Section 5 of the Federal Trade Commission Act (Nov. 10, 2022),

https://perma.cc/2G3F-2UW9 (Section 5 Policy Statement). First, the conduct must

be a “method of competition” rather than “merely a condition of the marketplace,”

such as “high concentration or barriers to entry.” Id. at 8. Second, the conduct must

be “unfair,” which means that it “goes beyond competition on the merits”—that is,

beyond competition in the form of a better product or service. Id. at 8-9.

       Determining whether a particular practice goes beyond competition on the

merits requires analyzing “two key criteria”: (1) whether the conduct is “coercive,

exploitative, collusive, abusive, deceptive, predatory,” or “otherwise restrictive or

exclusionary”; and (2) whether the conduct “tend[s] to negatively affect competitive

conditions,” such as by tending to “foreclose or impair the opportunities of market

participants” or “reduce competition between rivals.” Section 5 Policy Statement 9 &

nn.51-52; see also 89 Fed. Reg. at 38,358-59. Consistent with Congress’s intent that the

Commission be able to halt unfair methods of competition in their incipiency under

Section 5, the Commission need not prove that an individual use of a practice directly

caused actual harm. Rather, the Commission may consider “the anticompetitive
                                             6
tendencies of such a system.” Texaco, 393 U.S. at 230. In other words, the

Commission may properly assess whether the conduct tends to harm competitive

conditions “in the aggregate along with the conduct of others engaging in the same or

similar conduct.” 89 Fed. Reg. at 38,358; see also id. at 38,358 nn.288-90; see Sperry &

Hutchinson Co., 405 U.S. at 244 (explaining that the analysis does not turn on proving

the “anticompetitive consequences after the manner of the antitrust laws”).

       3. Starting in 1963, the Commission routinely invoked its Section 6(g)

rulemaking authority to issue legislative rules to prevent unfair methods of

competition and unfair or deceptive acts or practices. See 89 Fed. Reg. at 38,349-50; see

also FTC, Annual Report of the Federal Trade Commission 35-36 (1962),

https://perma.cc/PT38-T4RR. In 1973, the D.C. Circuit upheld the Commission’s

statutory authority to issue legislative rules designating practices as unfair methods of

competition or unfair or deceptive acts or practices. See National Petroleum Refiners Ass’n

v. FTC, 482 F.2d 672, 674 (D.C. Cir. 1973).

       Two years later, Congress amended the FTC Act in the Magnuson-Moss

Warranty—Federal Trade Commission Improvement Act, Pub. L. No. 93-637, 88

Stat. 2183 (1975). The Magnuson-Moss amendments restricted the Commission from

relying on its preexisting Section 6(g) rulemaking authority to regulate unfair or

deceptive acts or practices, 15 U.S.C. § 57a(a)(2), and enacted a new statutory

provision codifying the Commission’s authority to promulgate “rules which define

with specificity acts or practices which are unfair or deceptive acts or practices,” id.
                                             7
§ 57a(a). The amendments also adopted specific procedural requirements for such

rules. Id. § 57a(b). At the same time, Congress provided that the Magnuson-Moss

amendments “shall not affect any authority of the Commission to prescribe rules

(including interpretive rules), and general statements of policy, with respect to unfair

methods of competition in or affecting commerce.” Id. § 57a(a)(2).

      A separate provision, enacted in 1980, establishes procedural requirements for

certain Commission rulemakings and defines a “rule” as a rule promulgated under

Section 6 or 18 of the FTC Act. 15 U.S.C. § 57b-3(a)(1). It exempts “interpretive

rules, rules involving Commission management or personnel, general statements of

policy, or rules relating to Commission organization, procedure, or practice” from

those procedural requirements. Id. Additionally, it provides that those procedural

requirements apply to an amendment to a rule if the Commission “estimates that such

amendment will have an annual effect on the national economy of $100,000,000 or

more.” 15 U.S.C. § 57b-3(a)(1)(A).

      B.     Factual and Procedural Background
      1. Non-competes undermine economic liberty by preventing workers from

freely switching employers or launching their own businesses. Concern about non-

competes “dates back centuries,” and their enforceability has long been restricted

“based on public policy concerns.” 89 Fed. Reg. at 38,343. Today, non-competes “are

generally subject to greater scrutiny” under state law “than other employment terms,”

and have been subject to scrutiny under federal antitrust law since before the FTC
                                            8
Act. Id.; see, e.g., United States v. American Tobacco Co., 221 U.S. 106, 183 (1911)

(“constantly recurring” use of non-competes, among other practices, violated the

Sherman Act).

       In recent years, “[c]oncerns about non-competes have increased substantially.”

89 Fed. Reg. at 38,343. Non-competes are now widespread, proliferating far beyond

senior executives and highly compensated employees, and the Commission estimates

that one in five American workers—or approximately 30 million workers—is subject

to a non-compete. See id. at 38,346; see also id. (citing study finding that more than half

of workers bound by non-competes were hourly workers). Recent “[c]hanges in State

laws governing non-competes” allowed “researchers to better isolate the effects of

non-competes, giving rise to a body of empirical research” documenting the harms

caused by non-competes. Id. at 38,343. This research has found that “the use of non-

competes by employers tends to negatively affect competition in labor markets,

suppressing earnings for workers across the labor force,” and “to negatively affect

competition in product and service markets, suppressing new business formation and

innovation.” Id.

       In 2018, the Commission began to evaluate whether non-competes are unfair

methods of competition. The Commission invited public comment on non-competes,

as part of a set of hearings on competition and consumer protection issues in 2018

and 2019. See Non-Compete Clause Rule, 88 Fed. Reg. 3482, 3497 (Jan. 19, 2023). In

2020, the Commission held a public workshop on non-competes and received
                                               9
hundreds of public comments addressing a potential non-compete rulemaking. Id. In

2021, the Commission initiated investigations into several companies’ use of non-

competes; those investigations culminated in 2023 with consent decrees settling the

Commission’s charges that the non-competes constituted unfair methods of

competition and prohibiting enforcement of the non-competes. See 89 Fed. Reg. at

38,344; see also FTC, FTC Cracks Down on Companies that Impose Harmful Noncompete

Restrictions on Thousands of Workers (Jan. 4, 2023), https://perma.cc/NFB2-3NJR.

      In parallel, the Commission determined that the widespread problem of non-

competes would be more efficiently and effectively addressed through rulemaking

than individual adjudications. The Commission issued a Notice of Proposed

Rulemaking in 2023 proposing a rule that would have classified all non-competes as

unfair methods of competition and required employers subject to the Commission’s

jurisdiction to rescind all existing non-competes. See 88 Fed. Reg. 3482.

      2. During the rulemaking, the Commission sought and received tens of

thousands of public comments, evaluated the comments and relevant economic

research, and conducted its own empirical analyses. After assessing the evidence, the

Commission concluded that non-competes (1) are a method of competition, as

opposed to a condition of the marketplace, 89 Fed. Reg. at 38,374, (2) are restrictive

and exclusionary, id., and (3) tend to negatively affect competition in labor, product,

and service markets, id. at 38,379-402, 38,406-11. The Commission also found that

non-competes with workers other than senior executives are exploitative and coercive
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because they are almost always imposed unilaterally by employers with superior

bargaining power, typically without meaningful negotiation or compensation, id. at

38,374-79; that is less often true for senior executives, who are more likely to bargain

over, and receive compensation for, non-competes, id. at 38,405-06.

       Following its expert assessment of the economic evidence, the Commission

found that non-competes reduce competition and mobility in labor markets, limit the

movement of workers between firms, reduce productivity, and suppress wages—not

only for workers who are subject to non-competes, but even for those who are not.

See 89 Fed. Reg. at 38,379-84. The Commission also determined that non-competes

reduce competition in product and service markets by inhibiting new business

formation and innovation and limiting the access to the workforce that competitors

need to start and expand. This in turn may increase concentration and consumer

prices. See id. at 38,388-91, 38,394-95.

       The proposed rule received overwhelming public support. See 89 Fed. Reg. at

38,344 (approximately 25,000 of the 26,000 comments supported the proposal). Many

comments described workers with non-competes that had prevented them from

starting competing businesses or taking better jobs and recounted the harms that

workers experienced as a result. See id. at 38,344-46; FTC, Constituent Support for the

FTC’s Noncompete Rule: Texas – Statewide Impact, https://perma.cc/8FU9-GMPD

(summarizing comments from workers in Texas detailing the harms from non-

competes). Others described how non-competes bound them to employers with
                                            11
“religious principles in conflict” with their own, 89 Fed. Reg. at 38,345, or had “a

chilling effect on speech,” Authors’ Guild, Comment Letter on Proposed Rule (Apr.

19, 2023), https://perma.cc/F4RM-EAYN. The Small Business Majority, a “network

of more than 85,000 small businesses,” joined by hundreds of small businesses,

submitted comments explaining the negative effects that non-competes can have on

entrepreneurs’ ability to start businesses and hire qualified talent. See Small Bus.

Majority, Comment Letter on Proposed Rule (Apr. 19, 2023),

https://perma.cc/8PDE-74MW; Small Bus. Majority et al., Comment Letter on

Proposed Rule (Apr. 19, 2023), https://perma.cc/GF8G-EBJ4.

       Finally, the Commission found that “the principal harms from non-competes

arise from their tendency to negatively affect competitive conditions in the aggregate.”

89 Fed. Reg. at 38,463. The Commission found that the widespread use of non-

competes, in the aggregate, has negative externalities—such as adverse effects on

workers and consumers who are not themselves subject to non-competes—that may

be difficult to ameliorate in an individual adjudication. The Commission found that

these externalities are better addressed in a rulemaking. See id. at 38,463-64.

       For these reasons, the Commission adopted the Non-Compete Rule. The Rule

provides that in most cases, it is an unfair method of competition under Section 5(a)

of the FTC Act for employers to enter into non-competes after the Rule’s effective

date, September 4, 2024. 89 Fed. Reg. at 38,342. The Rule also prohibits employers

from enforcing existing non-competes except with respect to senior executives and
                                            12
requires employers to notify current and former employees subject to such non-

competes that the non-competes are unenforceable. See id. The Rule estimates that

prohibiting non-competes will increase new business formation by 2.7% annually and

spur innovation, including by leading to over 100,000 new patents over 10 years. Id. at

38,470-71. The Rule also estimates that worker earnings will increase by $400 to $488

billion over 10 years, id. at 38,470, and consumer prices will drop, id. at 38,478.

       3. Plaintiff Ryan, LLC, a global tax services firm that has non-competes with its

principals and employees, filed this suit challenging the Non-Compete Rule.

ROA.133. Four business associations—the Chamber of Commerce, Business

Roundtable, Texas Association of Business, and Longview Chamber of Commerce—

separately challenged the Rule in the Eastern District of Texas. The U.S. Chamber of

Commerce, Texas Association of Business, and Longview Chamber of Commerce

asserted that some member companies use non-competes, and the Business

Roundtable, an association of chief executives, asserted some members’ companies

use non-competes. See Chamber of Commerce of the U.S. v. FTC, 732 F. Supp. 3d 674, 678

(E.D. Tex. 2024). The associations sought relief for their entire memberships but did

not disclose their members’ identities and did not establish that all their members use

non-competes or oppose the Rule. See Chamber of Commerce of the U.S. v. FTC, No.

6:24-cv-148 (E.D. Tex. Apr. 30, 2024), Dkt. No. 23. After plaintiffs disclosed that

Ryan is a member of the Texas Association of Business, the Eastern District of Texas

suit was stayed to permit the associational plaintiffs to seek intervention in this case.
                                            13
See Chamber of Commerce, 732 F. Supp. 3d at 683. The associational plaintiffs were

subsequently permitted to intervene as plaintiffs in this case. ROA.842.2

      Plaintiffs initially sought a nationwide preliminary injunction against the Non-

Compete Rule, which the district court granted in part. The court held that plaintiffs

were likely to succeed on their claim that the FTC Act does not authorize the

Commission to promulgate substantive rules defining unfair methods of competition,

as well as on their claim that the Rule is arbitrary and capricious. ROA.3506-18.

      The district court rejected plaintiffs’ request for nationwide relief, however,

because plaintiffs had not provided any reason “as to how or why nationwide

injunctive relief is necessary to provide complete relief to Plaintiffs.” ROA.3526. The

district court further concluded that the intervenor-plaintiffs had not provided

“sufficient evidence” about the members on whose behalf they were proceeding to

warrant “extend[ing] injunctive relief to members” of the intervenor-plaintiff

associations. ROA.3526. Thus, the court entered a tailored stay and preliminary

injunction that prohibited the Commission from enforcing the Non-Compete Rule

against plaintiffs only. See ROA.3527, 3529-30.

      4. The parties cross-moved for summary judgment, and the district court

granted plaintiffs’ motions for summary judgment on their claims that the



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         This brief refers to Ryan and the intervenor-plaintiffs collectively as
“plaintiffs.” Where the distinction between the two is relevant, the brief refers to
them respectively as “Ryan” and “intervenor-plaintiffs.”
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Commission is not statutorily authorized to issue the Non-Compete Rule and that the

Rule is arbitrary and capricious.

      First, the district court held that the Commission does not have statutory

authority to issue substantive rules defining unfair methods of competition but instead

has authority to issue only “housekeeping” rules or “rules of agency organization

procedure or practice” concerning unfair methods of competition. ROA.5628-29

(quotation omitted). In so holding, the court acknowledged that the FTC Act directs

the Commission to “prevent” the use of unfair methods of competition and

empowers the Commission “to make rules and regulations for the purpose of carrying

out” the Act. ROA.5626 (first quoting 15 U.S.C. § 45(a)(2); and then quoting id.

§ 46(g)). The court concluded, however, that those provisions do not “expressly grant

the Commission authority to promulgate substantive rules regarding unfair methods

of competition.” ROA.5627.

      The district court offered assorted reasons for its interpretation of the statute.

Relying on a law review article proposing a new canon of construction, the court

concluded that its interpretation was consistent with the “lack of a statutory penalty”

for violating rules issued pursuant to Section 6(g). ROA.5628-29. The court also

asserted that the “location” of Section 6(g) is “suspect,” because it is not a “primary”

and “independent” provision but instead part of a list of “almost entirely investigative

powers” in Section 6 of the FTC Act. ROA.5629-30. Finally, the court rejected the

Commission’s arguments that the statutory history makes clear that the Commission
                                           15
is empowered to promulgate substantive rules defining unfair methods of

competition. ROA.5630-33.

      The district court also concluded that the Rule is arbitrary and capricious. In

the court’s view, the record was inadequate to support the Rule because the

Commission “relied on a handful of studies” studying the effects of state non-

compete policies, because “no state has enacted a non-compete rule as broad as the

FTC’s Rule,” and because the Commission “failed to sufficiently address alternatives”

to the Rule and to assess “reliance interests.” ROA.5635-36.

      Turning to remedy, the district court vacated the Rule in its entirety, asserting

that the Administrative Procedure Act (APA) “require[s]” a court to “‘set aside’” any

agency action that is in excess of statutory authority or arbitrary and capricious.

ROA.5637 (quoting 5 U.S.C. § 706(2)). The court rejected the Commission’s

argument that relief should be limited to plaintiffs, asserting that “the APA does not

contemplate party-specific relief.” ROA.5637. Thus, the court did not address

whether equitable principles supported universal vacatur or consider whether

narrower relief would be appropriate. Finally, the court “decline[d] to address” the

parties’ arguments regarding whether “vacatur” was an appropriate remedy in this

case, apparently on the view that there is a distinction between “vacating” and “setting

aside” a rule. See ROA.5638 n.14. The court entered a final judgment that “sets aside

the Non-Compete Rule” and states that “the Rule shall not be enforced or otherwise

take effect.” ROA.5639.
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                           SUMMARY OF ARGUMENT

      I. The FTC Act authorizes the Commission to issue rules defining unfair

methods of competition, including the Non-Compete Rule. That conclusion follows

from the plain text of the statute, which declares unfair methods of competition

unlawful and empowers the Commission to “make rules and regulations for the

purpose of carrying out” the Act. 15 U.S.C. § 46(g). The natural reading of that plain

language is confirmed by the Act’s directive that the Commission “prevent” the use of

unfair methods of competition, id. § 45(a)(2)—a directive that inherently contemplates

forward-looking rulemaking.

      That proper understanding of the statute is supported by every other relevant

indicator of statutory meaning. The language that Congress employed in the FTC Act

to grant Commission rulemaking authority is nearly identical to the language that

Congress employed in statutes conferring legislative rulemaking authority on other

agencies. Any remaining doubt was eliminated decades ago when, following a D.C.

Circuit decision that held Section 6(g) confers legislative rulemaking authority,

Congress revisited the Commission’s powers and expressly preserved the

Commission’s competition rulemaking authority. Other provisions of the FTC Act

reinforce Congress’s intent to authorize the Commission to promulgate rules defining

unfair methods of competition.

      II. The district court likewise erred in concluding that the Rule is arbitrary and

capricious on grounds refuted by the record and largely unexplained by the court. The
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Commission reasonably concluded that non-competes are unfair methods of

competition after analyzing dozens of economic studies, tens of thousands of public

comments, and the results of its own empirical modeling. The district court

improperly disregarded this evidence. For instance, the court cast aside the

Commission’s findings on the ground that the agency cited a “handful” of studies

analyzing changes in state law. ROA.5635. In fact, the Commission reasonably relied

on many high-quality empirical studies quantifying the harms from non-competes.

These included studies analyzing state-law changes in non-compete enforceability

because such studies are less likely to be affected by confounding variables. The

agency also reviewed meta-analyses and relied on studies of nationally representative

data. The district court disregarded the Commission’s determination that the most

methodologically robust studies were generally consistent in their findings regarding

the negative effects of non-competes.

      The other purported defects that the district court identified were likewise

contradicted by the record. The Commission identified four states with categorical

bans on non-competes and conducted its own economic analysis to model the effects

of a nationwide ban using the best evidence available. The Commission also weighed

the benefits and drawbacks of alternatives to the Rule and addressed settled

expectations and reliance interests in the existing legal regime.

      III. The district court’s universal vacatur of the Rule is unwarranted and

unnecessary to remedy plaintiffs’ alleged injuries. The court did not conclude that
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such sweeping relief was appropriate as a matter of equity—instead, the court asserted

that such relief was the required remedy. But the text of the APA, considered

alongside the backdrop against which the APA was enacted and this Court’s

precedents, makes clear that universal vacatur is not automatic or compelled but is

instead a discretionary equitable remedy.

       Constitutional and equitable principles require limiting any relief to the named

plaintiffs and excluding unidentified members of plaintiff organizations. As an initial

matter, both Article III and principles of equity counsel that a court’s remedial

authority is generally limited to redressing plaintiffs’ specific injuries. Any relief

ordered by the court should therefore be party-specific. Additionally, although the

associational plaintiffs claim to represent hundreds of thousands or potentially

millions of unidentified members, those plaintiffs have failed—and in fact, disclaimed

any intent—to establish the requisite indicia of membership to litigate on behalf of

their memberships. Regardless, equitable principles compel limiting relief to members

of the organizations that are clearly identified and have agreed to be bound by the

court’s judgment. The substantial equities in support of the Rule, which the

Commission has determined will have considerable benefits for workers, businesses,

and the economy, further support these limits on any relief.




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                               STANDARD OF REVIEW

         The district court’s judgment rests on errors of law that are subject to de novo

review. See National Fed’n of the Blind of Tex., Inc. v. Abbott, 647 F.3d 202, 208 (5th Cir.

2011).

                                      ARGUMENT

I.       The Commission Has Authority To Issue The Non-Compete Rule

         A.    The Commission Has Statutory Authority To Issue Rules To
               Prevent Unfair Methods Of Competition

         The FTC Act confers authority on the Commission to issue substantive rules

defining unfair methods of competition, including the Non-Compete Rule. That

conclusion flows directly from the Act’s plain text and is supported by decades of

Supreme Court precedent construing similar statutory language to confer similar

authority. The Commission’s statutory authority to issue rules defining unfair methods

of competition is also confirmed by statutory history and context.

         1. The FTC Act confers authority on the Commission to issue legislative rules

defining unfair methods of competition, including the Non-Compete Rule.

         Section 5(a) of the FTC Act declares that “[u]nfair methods of competition in

or affecting commerce” are unlawful, 15 U.S.C. § 45(a)(1), and “empower[s] and

direct[s]” the Commission “to prevent” the use of unfair methods of competition, id.

§ 45(a)(2). Section 6(g) of the Act then authorizes the Commission “to make rules and

regulations for the purpose of carrying out the provisions of this Act.” FTC Act, Pub.


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L. No. 63-203, § 6(g), 38 Stat. 717, 722 (1914); see also 15 U.S.C. § 46(g) (substituting

“subchapter” for “Act”). The meaning of that express grant of rulemaking authority is

clear: The Commission is authorized to issue “rules and regulations” to “carry[] out”

Section 5(a)’s directive—that is, to “prevent” the use of “[u]nfair methods of

competition in or affecting commerce.” Nothing about the statutory text cabins the

Commission’s authority to issuing only procedural or organizational rules.

       The Commission’s power to define unfair methods of competition through

rulemaking is further confirmed by Section 5(a)’s directive to the Commission to

“prevent” entities “from using unfair methods of competition.” 15 U.S.C. § 45(a)(2).

This statutory directive to “prevent” unfair methods of competition necessarily

contemplates forward-looking, prophylactic rulemaking to address unfair methods of

competition. See Prevent, 7 The Century Dictionary and Cyclopedia 4716 (1911)

(defining “prevent” at the time of the FTC Act’s enactment as “[t]o take previous

measures against” or “[t]o keep from existing or occurring”); accord Prevent, Webster’s

New International Dictionary of the English Language 1960 (2d ed. 1942) (“To keep

from happening, existing, succeeding, etc., esp. by precautionary measures; … to

render impossible by advance provisions.”). Interpreting the FTC Act to foreclose the

Commission’s authority to exercise its substantive rulemaking authority would

undermine Congress’s directive to “prevent” unfair methods of competition.

       Thus, the plain text of Section 6(g) authorizes the Commission to issue rules

enforcing the statutory prohibition on unfair methods of competition. That
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rulemaking authority necessarily encompasses the authority to make factual findings

and determine that a particular practice constitutes an unfair method of competition,

without needing to individually assess the evidence of actual direct harms each time a

company engages in the practice. That is a key feature and purpose of rulemaking, as

the Supreme Court has long recognized. See infra p. 30.

       2. The Commission’s authority is further supported by Supreme Court

precedent, stretching back decades, interpreting nearly identical language in other

agencies’ statutes as conferring substantive rulemaking authority.

       For example, in Mourning v. Family Publications Service, Inc., 411 U.S. 356 (1973),

the Supreme Court upheld a Federal Reserve Board regulation issued pursuant to the

Board’s authority to “prescribe regulations to carry out the purposes of” the Truth in

Lending Act. Id. at 361 (quotation omitted). As the Court explained, when a statute

“states simply that the agency may ‘make … such rules and regulations as may be

necessary to carry out the provisions of this Act,’” the statute confers rulemaking

authority to carry out the Act’s substantive mandates. Id. at 369 (alteration in original).

The “validity of a regulation promulgated” pursuant to such statutory language “will

be sustained so long as it is reasonably related to the purposes of the enabling

legislation.” Id. (quotation omitted); see also id. at 370 (explaining, in the context of

such statutory language, that “[w]hen [a] command is so explicit … nothing short of

express limitation or abuse of discretion … should undermine the action taken to

execute it” (quotation omitted)).
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      Similarly, in Thorpe v. Housing Authority of the City of Durham, 393 U.S. 268 (1969),

the Supreme Court held valid a Department of Housing and Urban Development

regulation issued pursuant to its statutory authority to “make” “rules and regulations

as may be necessary to carry out the provisions of” the agency’s enabling statute. Id. at

277 (quotation omitted). The Court described that authority as a “general rulemaking

power” and confirmed that it authorized the agency to promulgate a binding rule. Id.

at 274, 277. As in Mourning, the Court confirmed that this grant of rulemaking

authority permits the agency to promulgate rules so long as they have a “reasonable

relationship” to the substantive provisions of the enabling statute. Id. at 281.

      These cases are part of a long line of precedent confirming that statutory

language identical or nearly identical to Section 6(g) authorizes agencies to promulgate

legislative rules to carry out the substantive mandates set forth in the agencies’

enabling statutes. See, e.g., American Hosp. Ass’n v. NLRB, 499 U.S. 606, 609-10 (1991)

(stating that the National Labor Relations Act provision authorizing the National

Labor Relations Board to “make” “such rules and regulations as may be necessary to

carry out the provisions” of the statute conferred “unquestionably sufficient”

authority to issue legislative rules (quotation omitted)); FCC v. National Citizens Comm.

for Broad., 436 U.S. 775, 779, 793-94 (1978) (holding that the Communications Act

provision authorizing the Federal Communications Commission to “[m]ake such rules

and regulations … as may be necessary to carry out the provisions of” the statute

“supplies a statutory basis for the [FCC] to issue regulations” and confers “general
                                            23
rule-making authority” (first alteration in original) (quotation omitted)); Brackeen v.

Haaland, 994 F.3d 249, 354 (5th Cir. 2021) (en banc) (per curiam) (holding that the

Indian Child Welfare Act provision authorizing the Secretary of the Interior to

“promulgate such rules and regulations as may be necessary to carry out the

provisions” of the statute “clearly grants” authority “to promulgate standards that are

binding upon all parties” (quotation omitted)), aff’d in part and rev’d in part on other

grounds, 599 U.S. 255 (2023).

       3. Though the statutory text leaves no doubt about the Commission’s

competition rulemaking authority, Congress confirmed the authority when ratifying it

in subsequent amendments to the FTC Act.

       Between 1963 and 1978, the Commission exercised its Section 6(g) authority to

promulgate dozens of legislative rules aimed at preventing unfair methods of

competition and unfair or deceptive acts or practices. See 89 Fed. Reg. at 38,349-50. In

1973, the D.C. Circuit addressed a challenge to one of these rules, in which the

plaintiffs argued that “the Commission lacks authority under its governing statute to

issue” “substantive rules defining the statutory standard of illegality.” National

Petroleum Refiners Ass’n v. FTC, 482 F.2d 672, 673-75 (D.C. Cir. 1973).

       The court of appeals rejected that argument, explaining that “the face of the

statute” “specifically provides for rule-making by the Commission.” National Petroleum,

482 F.2d at 676. The court explained that its construction of the statute “to permit the

Commission to promulgate binding substantive rules” accorded with “the
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construction courts have given similar provisions in the authorizing statutes of other

administrative agencies.” Id. at 678-81 (collecting statutes and cases). To find

otherwise, the court explained, “would render the Commission ineffective to do the

job assigned it by Congress.” Id. at 697-98; see also United States v. JS & A Grp., Inc.,

716 F.2d 451, 454 (7th Cir. 1983) (agreeing with, and “incorporat[ing] by reference,”

National Petroleum’s “lengthy discussion of the Commission’s rulemaking authority

under section 6(g)”).

       Two years after the D.C. Circuit’s decision—and following a decade in which

the Commission had routinely promulgated legislative rules pursuant to Section 6(g),

including rules invoking the Commission’s authority to regulate unfair methods of

competition—Congress revisited the Commission’s rulemaking authority. In 1975,

Congress enacted amendments to the FTC Act, which were codified as Section 18 of

the Act. See Magnuson-Moss Warranty—Federal Trade Commission Improvement

Act, Pub. L. No. 93-637, 88 Stat. 2183. Those amendments imposed additional

procedural constraints on the Commission’s authority to prescribe rules governing

unfair or deceptive acts or practices, including “rules which define with specificity acts

or practices which are unfair or deceptive acts or practices in or affecting commerce.”

15 U.S.C. § 57a. Congress also enacted language providing that the “Commission shall

have no authority under” the Act—“other than its authority” under Section 18—“to

prescribe any rule with respect to unfair or deceptive acts or practices.” Id. § 57a(a)(2).

And Congress prohibited the Commission from promulgating rules governing unfair
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or deceptive acts or practices without complying with Section 18’s procedural

requirements by amending Section 6(g) to provide that the Commission may issue

rules and regulations “except as provided in” Section 18(a)(2). Id. § 46(g).

      At the same time, Congress kept intact Section 6(g)’s grant of competition

rulemaking authority. Congress specified that its amendments did not undermine the

“validity” of any “prior” rules promulgated under Section 6(g), and it provided that

the Commission could continue to use Section 6(g) for any rules that were

“substantially completed” when the 1975 Act was enacted. Pub. L. No. 93-637,

§ 202(c), 88 Stat. at 2198. And in Section 18, Congress provided that the restriction on

using other sections of the FTC Act to prescribe rules relating to unfair or deceptive

acts or practices “shall not affect any authority of the Commission to prescribe rules

(including interpretive rules), and general statements of policy, with respect to unfair

methods of competition.” 15 U.S.C. § 57a(a)(2).

      This preservation of rulemaking authority was not referring to some abstract or

theoretical authority. Rather, Congress knew about the Commission’s and D.C.

Circuit’s understanding of Section 6(g) as authorizing substantive rules and declined to

disturb that authority with respect to rules defining unfair methods of competition. In

enacting the amendments, Congress considered and rejected a proposal that would

have prohibited the Commission from “prescribing rules with respect to unfair

competitive practices.” S. Rep. No. 93-1408, at 30 (1974) (Conf. Rep.). The

conference report adopting the final text of the amendments reiterated Congress’s
                                           26
understanding that the 1975 amendments “do[] not affect any authority of the FTC

under existing law to prescribe rules with respect to unfair methods of competition.”

Id. at 32. Confirming Congress’s awareness of existing law, the Senate debate

immediately before the vote on the conference report discussed National Petroleum and

the Commission’s competition rulemaking authority. See 120 Cong. Rec. 40,713 (1974)

(statement of Sen. Hart) (quoting National Petroleum and explaining that the new

procedural requirements established in the 1975 amendments “are limited to unfair or

deceptive acts or practices rules”).

       In short, throughout the 1960s and early 1970s, the Commission routinely

exercised its Section 6(g) authority to promulgate binding legislative rules defining

both unfair methods of competition and unfair or deceptive acts or practices, and the

D.C. Circuit upheld that exercise of authority. When Congress revisited the

Commission’s authority, it imposed additional procedural requirements on the

Commission’s authority to define unfair or deceptive acts or practices while declining

to curtail the Commission’s Section 6(g) authority with respect to rules defining unfair

methods of competition.

       Congress thus ratified the Commission’s competition rulemaking authority. See

Helsinn Healthcare S.A. v. Teva Pharm. USA, Inc., 586 U.S. 123, 131 (2019) (“[W]e

presume that when Congress reenact[s]” the same language, it “adopt[s an] earlier

judicial construction of that phrase.”); CFTC v. Schor, 478 U.S. 833, 846 (1986)

(“[W]hen Congress revisits a statute giving rise to a longstanding administrative
                                           27
interpretation without pertinent change, the congressional failure to revise or repeal

the agency’s interpretation is persuasive evidence that the interpretation is the one

intended by Congress.” (quotation omitted)).

       4. Multiple other FTC Act provisions confirm that Section 6(g) permits the

Commission to promulgate substantive rules defining unfair methods of competition.

       First, a different provision of the FTC Act, enacted in 1980, confirms that the

Commission’s Section 6(g) rulemaking authority encompasses the authority to issue

legislative rules. Specifically, the provision establishes procedural requirements for all

Commission rulemakings and defines a “rule” as a rule promulgated under Section 6

or 18 of the Act. 15 U.S.C. § 57b-3(a)(1). The provision exempts from those

procedural requirements all “interpretive rules, rules involving Commission

management or personnel, general statements of policy, or rules relating to

Commission organization, procedure, or practice.” Id. Thus, this provision confirms

that the Commission’s Section 6(g) rulemaking authority must encompass legislative

rules, or else the provision’s reference to Section 6 would be superfluous.

       Second, a different part of the 1980 amendments includes language recognizing

that the Commission’s exercise of its Section 6(g) rulemaking authority may properly

have substantial national effects. Specifically, the provision states that the procedural

requirements therein apply to an amendment to a rule if the Commission “estimates

that such amendment will have an annual effect on the national economy of

$100,000,000 or more.” 15 U.S.C. § 57b-3(a)(1)(A). That provision confirms that
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Congress understood the Commission may promulgate legislative rules, including

under Section 6(g), because such rules are more likely than interpretive rules or

statements of policy to have economic effects of this size.

       B.     The District Court’s And Plaintiffs’ Contrary Arguments Are
              Unpersuasive

       The district court nonetheless concluded that the Commission is not statutorily

authorized to issue substantive rules defining unfair methods of competition. Instead,

the court indicated that the Commission may enforce the FTC Act’s prohibition on

such practices only through case-by-case adjudications. In the court’s view, Section

6(g) authorizes the Commission to adopt only “housekeeping” or procedural rules

governing the conduct of those adjudications. See ROA.5628-29 (quotation omitted).

       The district court’s conclusion is unpersuasive and undermined by substantial

Supreme Court precedent confirming that statutory provisions with nearly identical

language authorize substantive rulemaking, even when an agency is also empowered

to enforce a statute through adjudication. None of the district court’s other arguments

support atextual limitations on the Commission’s express rulemaking authority either.

Finally, although plaintiffs urged the district court to rely on the major-questions

doctrine to cabin Section 6(g)’s authority, the district court properly declined to accept

that invitation.

       1. The district court’s analysis rests on a fundamental misunderstanding of the

statutory scheme as authorizing only case-by-case adjudication. Section 6(g) expressly

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confers the authority to make rules and regulations to carry out the FTC Act’s

substantive mandates, including the directive to prevent unfair methods of

competition. As explained, the language in Section 6(g) authorizing the Commission

to promulgate binding rules is substantially identical to the language used in statutes

that the Supreme Court has consistently interpreted to confer legislative rulemaking

authority. See supra pp. 22-24.

       Moreover, the Supreme Court has repeatedly held that such a rulemaking

provision authorizes an agency to engage in legislative rulemaking to carry out its

substantive mandate even when the enabling statute also allows the agency to carry

out the same substantive mandate through adjudication. So long as Congress has

conferred rulemaking authority on the agency, then “even if a statutory scheme

requires individualized determinations, the decisionmaker may rely on rulemaking to

resolve certain issues of general applicability unless Congress clearly expresses an

intent to withhold that authority.” American Hosp. Ass’n, 499 U.S. at 612; accord Lopez v.

Davis, 531 U.S. 230, 243-44 (2001); see also, e.g., AT&T Corp. v. Iowa Utils. Bd., 525 U.S.

366, 378-80 (1999); Mobil Oil Expl. & Producing Se. Inc. v. United Distribution Cos., 498

U.S. 211, 223-24 (1991). “A contrary holding would require the agency continually to

relitigate issues that may be established fairly and efficiently in a single rulemaking

proceeding.” Heckler v. Campbell, 461 U.S. 458, 467 (1983).

       That is exactly what the Commission did in this rulemaking. No party disputes

that the Commission may properly initiate individual enforcement actions against
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employers who use non-competes, but such individual enforcement actions will

present recurring questions regarding the tendencies of non-competes to negatively

affect competitive conditions. The Commission resolved those questions with the

Rule by evaluating the relevant evidence and determining on a class-wide basis that

non-competes are restrictive and exclusionary, that they tend to negatively affect

competitive conditions, and that non-competes for workers other than senior

executives exhibit additional indicia of unfairness. By resolving those issues of general

applicability through rulemaking rather than adjudication, the Commission weighed

substantial public input, provided clear notice to affected parties, and ensured the

even-handed application of the FTC Act’s prohibitions.

      2. The additional reasons that the district court proffered in support of its

atextual limitation of Section 6(g) to procedural rules do not support its conclusion.

The scattered inferences drawn by the district court cannot supersede the plain

statutory text, particularly given the statutory history and context. And even on their

own terms, the district court’s conclusions are unpersuasive.

      First, the district court relied on a 2002 law review article proposing a new

canon of construction that, as far as the Commission is aware, no court—except the

district court—has ever adopted. The article proposed that New Deal-era rulemaking

provisions should be interpreted to authorize legislative rulemaking only if the

provisions expressly specify penalties for violations of those rules. See ROA.5628-29.

The article itself acknowledges, however, that “Supreme Court decisions touching on
                                           31
rulemaking grants” following the APA’s enactment “betrayed no awareness” of this

convention and “there is little evidence that the typical member of Congress was

aware of the convention.” Thomas W. Merrill & Kathryn Tongue Watts, Agency Rules

with the Force of Law: The Original Convention, 116 Harv. L. Rev. 467, 475, 519, 577

(2002). This district court’s reliance on this supposed convention was therefore error.

Cf. Biden v. Nebraska, 600 U.S. 477, 509 (2023) (Barrett, J., concurring) (“Even if the

judiciary’s adoption of [strong-form] canons can be reconciled with the Constitution,

it is undeniable that they pose ‘a lot of trouble’ for ‘the honest textualist.’”).

       Regardless, the FTC Act does provide a penalty for a rule violation. The

Commission’s sole means of enforcing an unfair-method-of-competition rule is

through administrative adjudication, and the Act specifies the penalty that follows

such an adjudication: a cease-and-desist order, see 15 U.S.C. § 45(b), which, if violated,

can result in civil penalties or a mandatory injunction, see id. § 45(l). Congress did not

need to specify any other penalty for violating a rule.

       Nor is it relevant whether Section 6(g) is a sufficiently “primary” or

“independent” provision, as the district court suggested. ROA.5629-30. In describing

the location of Section 6(g) as “suspect,” ROA.5629, the district court cited no

authority to support the notion that an agency’s rulemaking authority is limited when

it is conferred in the same section as other powers. As explained, many statutory

provisions worded similarly to Section 6(g) have long been construed to confer

substantive rulemaking authority, see supra pp. 22-24—including provisions that, like
                                             32
Section 6(g), appear as part of a list of other powers rather than in an independent

section, see, e.g., United States v. Storer Broad. Co., 351 U.S. 192, 203 (1956); King v.

Housing Auth. of the City of Huntsville, 670 F.2d 952, 954-55 (11th Cir. 1982); see also 52

U.S.C. § 30107(a)(8). Nor does it matter what other unrelated powers Section 6

enumerates. See ROA.5629. Section 6(g)’s text unambiguously grants the authority to

“make rules and regulations for purposes of carrying out” the FTC Act’s substantive

mandates, and the case law confirms such language confers substantive rulemaking

authority.

       The district court’s conclusion that Section 6(g) authorizes only

“housekeeping” or procedural rules is likewise unfounded. ROA.5628 (quotation

omitted). Nowhere does the text of the FTC Act so limit the Commission’s

rulemaking authority, and the rulemaking provision bears no textual resemblance to

the paradigmatic “housekeeping” statute the court referenced, 5 U.S.C. § 301.

ROA.5628 (citing Chrysler Corp. v. Brown, 441 U.S. 281, 310 (1979)). That

“housekeeping” statute authorizes agency heads to “prescribe regulations for the

government of his department, the conduct of its employees, the distribution and

performance of its business, and the custody, use, and preservation of its records,

papers, and property.” Chrysler, 441 U.S. at 309 (quoting 5 U.S.C. § 301). In contrast,

Section 6(g) confers rulemaking authority “for the purpose of carrying out the

provisions of” the FTC Act, 15 U.S.C. § 46(g), without reference to “housekeeping”

duties akin to those in 5 U.S.C. § 301.
                                               33
      Finally, the district court improperly inferred that the existence of other statutes

“expressly allowing force of law rulemaking related to specific subjects” implies that

Section 6(g) does not authorize “substantive rulemaking.” ROA.5631. In the district

court’s view, the statutory provisions addressing rulemaking in specific subject areas

“would be superfluous” if Section 6(g) permitted legislative rulemaking. ROA.5631.

But Congress’s decision to require the Commission to address specific topics through

rulemaking has no bearing on whether the Commission had existing discretionary

authority to issue substantive rules. In any event, those specific provisions direct—

and do not merely authorize—the Commission to issue rules regarding certain

subjects. See, e.g., 15 U.S.C. § 1194(c) (“The Commission is authorized and directed to

prescribe such rules and regulations … as may be necessary and proper for

administration and enforcement of [the Flammable Fabrics Act].”); id. § 2310(a)(2)

(“The Commission shall prescribe rules setting forth minimum requirements for any

informal dispute settlement procedure which is incorporated into the terms of a

written warranty to which any provision of this chapter applies.”). Those provisions

are not rendered superfluous by the general grant of discretionary rulemaking

authority.

      3. Plaintiffs also argued in district court that the major-questions doctrine

precludes interpreting Section 6(g) in accordance with its plain meaning: as

authorizing the Commission to promulgate rules defining unfair methods of

competition. See ROA.3629-33, 3692-93. But major-questions principles do not
                                           34
support plaintiffs’ and the district court’s cramped interpretation of Section 6(g), and

the district court properly declined to invoke those principles.

      In certain “extraordinary cases,” the Supreme Court has held that “separation

of powers principles and a practical understanding of legislative intent” counsel

caution before “read[ing] into ambiguous statutory text the delegation claimed to be

lurking there.” West Virginia v. EPA, 597 U.S. 697, 723 (2022) (quotation omitted). In

certain such cases, the Supreme Court has said that the agency “must point to clear

congressional authorization” for its action. Id. (quotation omitted).

      Those extraordinary cases do not support the conclusion that the Commission

lacks substantive rulemaking authority and do not support plaintiffs’ construction of

the statute. The major-questions doctrine is an application of the principle that “the

words of a statute must be read in their context and with a view to their place in the

overall statutory scheme.” West Virginia, 597 U.S. at 721 (quotation omitted). The

doctrine is an “interpretive tool” for “discerning—not departing from—the text’s

most natural interpretation.” Nebraska, 600 U.S. at 508, 511 (Barrett, J., concurring).

      “[I]n any case of statutory construction,” the court’s analysis “begins with the

language of the statute” and, “where the statutory language provides a clear answer, it

ends there as well.” Hughes Aircraft Co. v. Jacobson, 525 U.S. 432, 438 (1999) (quotation

omitted). As explained, the text of Section 6(g) makes clear—especially when

considered in context—that the Commission has authority to promulgate substantive

rules defining unfair methods of competition. See supra pp. 20-29. The major-
                                           35
questions doctrine does not demand a contrary result. After all, the doctrine “does not

mean that courts have an obligation (or even permission) to choose an inferior-but-

tenable alternative that curbs the agency’s authority.” Nebraska, 600 U.S. at 516

(Barrett, J., concurring).

       Notably, Congress expressly contemplated that the rules that the Commission

promulgates to enforce the FTC Act’s substantive mandates may have relatively large

economic effects. Congress enumerated requirements that would apply to any

regulatory amendment with “an annual effect on the national economy of

$100,000,000 or more,” 15 U.S.C. § 57b-3(a)(1)(A), specifically envisioning rulemaking

with substantial national economic effects. Thus, by its terms, the FTC Act obviates

any concerns that the major-questions doctrine is relevant to the Non-Compete Rule.

       Even if the statutory interpretation question were less clear, the major-

questions doctrine would not be implicated here, where the Commission’s assertion

of authority—to promulgate a rule defining an unfair method of competition—is

squarely within the Commission’s core expertise and mandate. The major-questions

doctrine applies in those “extraordinary” circumstances where an agency has asserted

authority of such unusual “history” and “breadth” and “significance” that there is “a

reason to hesitate before concluding that Congress meant to confer such authority.”

West Virginia, 597 U.S. at 721 (quotation omitted). The Court’s application of the

doctrine has generally reflected its view that agencies were finding “elephants in

mouseholes” by relying on “relatively narrow statutes” to ground “broad invocations
                                           36
of power” or attempting to “regulate[] outside [their] wheelhouse.” Nebraska, 600 U.S.

at 517-18 (Barrett, J., concurring) (quotation omitted).

      For example, in West Virginia, the Court perceived the Environmental

Protection Agency to be relying on a “little-used backwater” provision of the Clean

Air Act “that was designed to function as a gap filler” to support the agency’s

authority to issue the Clean Power Plan, which would have “restructur[ed] the

Nation’s overall mix of electricity generation.” 597 U.S. at 720, 724, 730. Similarly, in

Alabama Ass’n of Realtors v. Department of Health & Human Services, the Centers for

Disease Control and Prevention relied on its general authority to “prevent the

introduction, transmission, or spread of communicable diseases” as a basis for a

nationwide “eviction moratorium.” 594 U.S. 758, 760-61 (2021) (per curiam)

(quotation omitted). The Court perceived that general authority to be a “wafer-thin

reed on which to rest such sweeping power.” Id. at 765.

      The Non-Compete Rule does not implicate these concerns. The Rule is a

targeted regulatory effort to prohibit a specific unfair method of competition, which

rests comfortably within the Commission’s core regulatory authority under Section

5(a) of the FTC Act—a substantive centerpiece of the enabling statute. As explained,

Congress vested the Commission with the statutory authority to implement Section

5(a)’s substantive prohibition on unfair methods of competition through rulemaking

and adjudication. See supra pp. 4-5. Plaintiffs have not disputed that the Commission

may initiate enforcement actions against the use of non-competes to enforce Section
                                            37
5(a)’s prohibition on unfair methods of competition. And as the Supreme Court has

long recognized, an agency with both rulemaking and adjudication authority may carry

out its substantive mandate through rulemaking even when its enabling statute allows

adjudications as an alternative. See supra p. 30; cf. NLRB v. Bell Aerospace Co., 416 U.S.

267, 294 (1974). The major-questions doctrine does not provide otherwise.

II.    The Non-Compete Rule Is Not Arbitrary And Capricious

       The district court erred in concluding that the Non-Compete Rule is arbitrary

and capricious under the APA. ROA.5634. In weighing whether an agency action is

arbitrary and capricious, the court’s “task is merely to ask whether the agency

considered the relevant facts and articulated a satisfactory explanation for its

decision.” Amin v. Mayorkas, 24 F.4th 383, 393 (5th Cir. 2022). “[A] court is not to

substitute its judgment for that of the agency,” Motor Vehicle Mfrs. Ass’n of the U.S. v.

State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983), and must “uphold an agency’s

action ‘if its reasons and policy choices satisfy minimum standards of rationality,’” 10

Ring Precision, Inc. v. Jones, 722 F.3d 711, 723 (5th Cir. 2013). The court begins with the

“presumption that the agency’s decision is valid,” Texas Clinical Labs, Inc. v. Sebelius,

612 F.3d 771, 775 (5th Cir. 2010), and exercises “narrow and highly deferential”

review, particularly when the agency’s expertise is involved, Sierra Club v. U.S. Dep’t of

Interior, 990 F.3d 909, 913 (5th Cir. 2021) (quotation omitted).

       The Commission properly concluded that non-competes are unfair methods of

competition based on the rulemaking record, and the district court’s conclusion that
                                             38
the Rule was arbitrary and capricious was premised on a series of incorrect assertions

that the record refutes.

      A.     The Commission Reasonably Concluded That Non-
             Competes Are Restrictive And Tend To Negatively Affect
             Competitive Conditions

      The Commission’s conclusion that non-competes are an unfair method of

competition is supported by the rulemaking record and the case law. As explained, an

unfair method of competition is conduct that (1) is “coercive, exploitative, collusive,

abusive, deceptive, predatory” or “otherwise restrictive or exclusionary”; and (2)

“tend[s] to negatively affect competitive conditions” by, for example, tending to

“foreclose or impair the opportunities of market participants” or “reduce competition

between rivals.” Section 5 Policy Statement 9; see 89 Fed. Reg. at 38,358-59; supra p. 6.

      In the rulemaking, the Commission conducted an exhaustive analysis of the

economic literature and comments submitted during the rulemaking process. Based

on this review, the Commission concluded that non-competes are facially restrictive

and exclusionary, and with respect to workers other than senior executives, the

Commission found that non-competes are exploitative and coercive. See 89 Fed. Reg.

at 38,374-79. The Commission also found that non-competes tend to (and in actual

effect do) negatively affect competitive conditions in labor, product, and service

markets by preventing workers from starting competing businesses and by preventing

employers from competing to hire the best workers. See id. at 38,374-402, 38,406-11.

The Commission found that by cutting off competition, non-competes suppress labor
                                           39
mobility, depress earnings, reduce job quality, decrease new business formation, and

stifle innovation; and that non-competes may elevate market concentration and

consumer prices while reducing product and service quality and consumer choice. See

id. at 38,379-402. The rulemaking record is replete with evidence supporting these

conclusions. See id. Thus, the Commission concluded that non-competes are unfair

methods of competition.

      The Commission also explained that non-competes have substantial negative

spillover effects. For instance, the Commission identified evidence consistently

showing the harms from non-competes on businesses and workers who are not

themselves subject to non-competes. See 89 Fed. Reg. at 38,460-64. The evidence

showed that non-competes tend to reduce the earnings and job mobility for both

workers who are subject to non-competes and those who are not. See, e.g., id. at 38,383

(citing study showing “increases in non-compete enforceability in one State have

negative impacts on workers’ earnings in bordering States”); id. (citing study showing

that “when the rate of use of non-competes in an industry in a State is higher, wages

are lower for workers who do not have non-competes but who work in the same

State and industry”). The Commission also found that non-competes tend to

negatively affect competitive conditions by locking up talented workers and thereby

inhibiting new business formation and reducing innovation—which affects even

businesses, consumers, and workers not bound by non-competes. See id. at 38,388-98;


                                          40
see also id. at 38,398-99 (citing evidence of non-competes contributing to increased

industrial concentration and consumer prices).

       The Commission concluded that its findings were not undermined by the

interests proffered in support of non-competes, such as promoting training,

protecting sensitive information, and promoting competition. See 89 Fed. Reg. at

38,421-34. As the Commission explained, employers remain free to protect those

interests in other ways, such as nondisclosure agreements, patents, and trade secrets

law to protect intellectual property interests. See id. at 38,424-26. To protect

investments in employee training, employers and workers can negotiate employment

contracts in which employees agree to a length of employment tailored to recoup the

employer’s investment. Id. at 38,424. Employers also remain free to compete on the

merits by offering better jobs. See id. The Commission explained that these alternative

approaches may protect employers’ interests without inhibiting competition to the

degree that non-competes do.

       B.     The District Court’s Contrary Conclusions Are Unavailing

       The district court improperly concluded that the Rule is arbitrary and

capricious based on assertions that the record refutes.

              1.     The District Court Improperly Concluded That The
                     Rule Is Not Supported By The Record

       First, the district court erroneously cast aside the Commission’s findings on the

ground that the Commission only “relied on a handful of studies that examined the

                                            41
economic effects of various state policies toward noncompetes.” ROA.5635. This was

improper for several reasons. First, the Commission properly gave weight to research

assessing the effects of changes in state laws governing non-compete enforceability

because those analyses were highly probative. As the Commission explained in the

Rule, those studies were likelier to demonstrate the causal effects of changes in the

law and were less likely to be affected by confounding variables. See 89 Fed. Reg. at

38,372-73. Second, the Commission reviewed meta-analyses of these studies, which

the district court overlooked. For instance, the Commission relied on a meta-analysis

of “all legal changes in the enforceability of non-competes from 1991 to 2014 across

the entire labor force” and determined that “substantial decreases” in the

enforceability of non-competes increase labor mobility in industries that use non-

competes at a high rate. Id. at 38,380-81. Third, the Commission’s analysis was not

limited to studies assessing the effects of state non-compete laws; the agency drew on

many high-quality empirical studies quantifying the harms from non-competes,

including studies involving nationally representative data. See, e.g., id. at 38,381.

       Furthermore, the district court improperly relied on the notion that the

Commission failed to cite “evidence” regarding the effects of a “categorical ban” on

non-competes. ROA.5635. The Commission acted reasonably given the extensive

evidence regarding the harmful effects of non-competes across industries and

geographies. “An agency need not ‘have perfect information before it takes any

action[,]’” North Carolina v. FERC, 112 F.3d 1175, 1190 (D.C. Cir. 1997), and even
                                             42
given limited data and “serious uncertainties,” an agency need only “explain the

evidence which is available[] and … offer a ‘rational connection between the facts

found and the choice made.’” State Farm, 463 U.S. at 52. The APA does not require an

agency to shore up evidence of what the world would look like if its action, which has

yet to be taken, had already been taken, for such a standard would effectively preclude

new action. The Commission nevertheless performed its own economic analysis

modeling the effects of a nationwide ban using the best evidence available. See 89 Fed.

Reg. at 38,466-502. In so doing, the Commission discharged its obligation to analyze

the available evidence to determine whether it supports the Rule. Cf. FCC v. Prometheus

Radio Project, 592 U.S. 414, 427 (2021) (“The APA imposes no general obligation on

agencies to conduct or commission their own empirical or statistical studies.”).

       Moreover, the district court was incorrect that “no state” has enacted a non-

compete rule “as broad as” the Commission’s. ROA.5635. Four states have adopted

categorical bans on non-competes, as the Rule explains. See 89 Fed. Reg. at 38,424

n.767. In any event, the APA does not require an agency to identify an identical state

law to justify its exercise of its independent federal statutory authority.

       Finally, the district court enumerated various purported defects in the Rule—

each refuted by the record. ROA.5635. The district court offered no support for its

assertion that the Rule is “based on inconsistent and flawed empirical evidence,”

ROA.5635, and the Rule explains that just the opposite is true. The Commission

applied its “longstanding expertise assessing empirical evidence relating to the effects
                                            43
of various practices on competition” and gave greater weight to studies with

methodologies that are “more likely to yield accurate, reliable, and precise results.” 89

Fed. Reg. at 38,372. The Commission’s approach to evaluating the evidence accorded

with “best practices in the economic literature,” id., and the Commission found that

the most methodologically robust studies were broadly consistent in their findings

regarding the negative effects of non-competes, see id. at 38,396.

      The district court was also mistaken to say the Commission did not “consider

the positive benefits” of non-competes and “disregard[ed] the substantial body of

evidence supporting” non-competes. ROA.5635. To the contrary, the Commission

analyzed each of the claimed benefits and arguments in support of non-competes, and

ultimately concluded that they did not alter the Commission’s conclusion that non-

competes are unfair methods of competition. See supra p. 41; accord 89 Fed. Reg. at

38,421-34.

             2.     The District Court Disregarded The Commission’s
                    Analysis Of Alternatives

      The district court’s arbitrary-and-capricious analysis was also wrong because it

rested on the unsupported assertion that the Commission did not “sufficiently address

alternatives to issuing the Rule.” ROA.5636. The Commission assessed a range of

alternatives to the Rule: a rebuttable presumption of unlawfulness; different standards

for different categories of workers; disclosure rules; reporting rules; requirements to




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compensate workers for non-competes; state-by-state regulation instead of a uniform

federal rule; and case-by-case enforcement only. See 89 Fed. Reg. at 38,457-65.

       The Commission thoroughly explained why each of these alternatives was

inadequate to ameliorate the harmful effects of non-competes. The agency noted that

various alternatives would introduce complexity and uncertainty, and that this would

increase employers’ compliance costs and make it likelier that employers would

continue to use unlawful non-competes. See 89 Fed. Reg. at 38,458. The Commission

also noted that certain alternatives, like the disclosure rule, would not “mitigate the

competitive harms caused by non-competes in the aggregate.” Id. at 38,459. And a

rule governing only some non-competes, or limiting only the scope or duration of

non-competes, would “still tend to inhibit efficient matching between workers and

employers, with spillover effects on new business formation and innovation.” Id. at

38,461. The Commission reasonably determined that the Rule would best address the

problems these alternatives posed.

       Contrary to the district court’s assertion, see ROA.5636, the Commission

expressly considered potential reliance interests in the existing legal regime, see 89 Fed.

Reg. at 38,355 n.254. For instance, the Commission assessed whether it would be

appropriate to retain the current patchwork of state regulation and concluded that the

adverse consequences of taking no action outweighed settled expectations and

reliance interests. See id. at 38,462, 38,465; see also id. at 38,403 (discussing reliance

interests in connection with non-competes for workers other than senior executives);
                                              45
id. at 38,412 (explaining the Rule’s carveout for senior executives in light of reliance

interests). That these analyses appeared in sections that were not headlined “reliance

interests” does not render the rule arbitrary and capricious.

       In any event, the district court’s focus on reliance interests was misplaced

because it was premised on inapposite case law. The district court relied on a decision

addressing situations in which agencies “rescind[] or alter[] a prior policy” and

therefore must consider “reliance interests” in their prior positions. Wages & White

Lion Invs., LLC v. Food & Drug Admin., 16 F.4th 1130, 1139 (5th Cir. 2021) (alteration

omitted). No such interests were at issue here because the Commission had not

previously taken a contrary position on the question of whether non-competes are

unfair methods of competition.

III.   The District Court Erred In Universally Vacating The Rule

       Even if plaintiffs were correct on the merits of their claims, the district court

erred in vacating the Rule universally. The district court failed to consider either the

balance of equities or the public interest and instead treated universal relief as flowing

automatically from its conclusion that the Rule exceeded the Commission’s authority

and was not properly explained. That reasoning was erroneous, and constitutional and

equitable principles do not support extending any vacatur beyond the named

plaintiffs.




                                            46
       A.     The District Court Improperly Concluded Universal Relief
              Was Compelled By The APA And Failed To Consider
              Constitutional And Equitable Principles
       The court erred in ordering universal vacatur of the Rule without considering

equitable principles. The court at no point concluded that universal relief was

necessary to remedy any of plaintiffs’ injuries or was consonant with equitable

principles. To the contrary, the court had previously declined to extend relief beyond

plaintiffs at the preliminary-injunction stage, concluding that plaintiffs had not

demonstrated that the sweeping remedy they requested was “necessary to provide

complete relief” to them. ROA.3526. At final judgment, however, the court appeared

to view universal relief as required by the APA. See ROA.5637-38.

       That is incorrect. Although this Court’s precedents identify vacatur as an

available remedy for a successful APA challenge to a regulation, see, e.g., Franciscan All.,

Inc. v. Becerra, 47 F.4th 368, 374-75 (5th Cir. 2022), the APA does not reference

vacatur, instead remitting plaintiffs to traditional equitable remedies like injunctions,

see 5 U.S.C. § 703, and there is little indication that Congress intended to create a new

and radically different remedy in providing that courts reviewing agency action should

“set aside” agency “action, findings, and conclusions,” id. § 706(2); see United States v.

Texas, 599 U.S. 670, 693-703 (2023) (Gorsuch, J., joined by Thomas and Barrett, JJ.,

concurring in the judgment) (detailing “serious” arguments that “warrant careful

consideration” as to whether the APA “empowers courts to vacate agency action”).



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       Congress enacted the APA against a background rule that statutory remedies

must be construed in accordance with “traditions of equity practice.” Hecht Co. v.

Bowles, 321 U.S. 321, 329 (1944). The Supreme Court has recently reinforced this

principle, instructing that “[w]hen Congress empowers courts to grant equitable relief,

there is a strong presumption that courts will exercise that authority in a manner

consistent with traditional principles of equity.” Starbucks Corp. v. McKinney, 602 U.S.

339, 345 (2024). The APA provides for traditional forms of equitable actions and

relief, such as “declaratory judgments or writs of prohibitory or mandatory

injunction,” 5 U.S.C. § 703, and preserves “the power or duty of the court to … deny

relief on any … equitable ground,” id. § 702(1). Given that Congress incorporated

traditional equitable principles into the APA, there is no reason to conclude that

Congress compelled courts to abandon “the bedrock practice of case-by-case

judgments with respect to the parties in each case” with the “set aside” language in

§ 706. Texas, 599 U.S. at 695 (Gorsuch, J., joined by Thomas and Barrett, JJ.,

concurring in the judgment).

       This construction of the APA as permitting, but not requiring, universal

vacatur is consistent with this Court’s precedent. This Court has understood universal

vacatur of agency action to be a discretionary equitable remedy—not one that is

automatic or compelled. See, e.g., Cargill v. Garland, 57 F.4th 447, 472 (5th Cir. 2023)

(en banc) (plurality opinion) (concluding, without contradiction from any other

member of the Court, that the district court could consider on remand “a more
                                            48
limited remedy” than universal vacatur of the rule, and instructing the district court to

“determine what remedy—injunctive, declarative, or otherwise—is appropriate to

effectuate” the judgment); see also id. (recognizing that a “plaintiff’s remedy must be

tailored to redress the plaintiff’s particular injury” (quoting Gill v. Whitford, 585 U.S.

48, 73 (2018))); Central & S.W. Servs., Inc. v. EPA, 220 F.3d 683, 692 (5th Cir. 2000)

(declining to enter vacatur in favor of remand). This Court has recently reaffirmed

that in certain situations, “party-specific vacatur is definitely appropriate.” Texas Med.

Ass’n v. U.S. Dep’t of Health & Human Servs., 120 F.4th 494, 510 (5th Cir. 2024). That is

consistent with the APA, which does not affect “the power or duty of the court” to

“deny relief on” any “equitable ground.” 5 U.S.C. § 702(1).

       Universal relief also conflicts with principles of Article III and equity,

“incentivize[s] forum shopping,” “short-circuit[s] the decisionmaking benefits of

having different courts weigh in on vexing questions of law,” and overburdens courts’

“emergency dockets.” Arizona v. Biden, 40 F.4th 375, 395-98 (6th Cir. 2022) (Sutton,

C.J., concurring). Vacatur can also “render meaningless rules about joinder and class

actions, and facilitate efforts to evade the APA’s normal rulemaking processes,”

sometimes even “sweep[ing] up nonparties who may not wish to receive the benefit

of the court’s decision.” Texas, 599 U.S. at 703 (Gorsuch, J., joined by Thomas and

Barrett, JJ., concurring in the judgment). These concerns are particularly acute here,

given the two other challenges to the Rule that were pending before the district court

entered universal vacatur, one of which is now on appeal, see Properties of the Vills., Inc.
                                             49
v. FTC, No. 24-13102 (11th Cir.), and the other of which was voluntarily dismissed

following the improper entry of universal relief in this case, see ATS Tree Servs., LLC v.

FTC, No. 24-1743 (E.D. Pa. Oct. 4, 2024), Dkt. No. 92.

      The district court declined to consider any of these arguments, seemingly on

the view that they were irrelevant because they addressed whether “vacatur” was

appropriate and the court was instead “set[ting] aside” the Rule. ROA.5638 n.14

(quotation omitted). That view was misplaced. This Court has stated that the APA

provision directing courts “to set aside unlawful agency actions” is what “allow[s] a

district court’s vacatur,” Texas Med. Ass’n v. U.S. Dep’t of Health & Human Servs., 110

F.4th 762, 779 (5th Cir. 2024) (quotation omitted); in other words, “vacatur” and “set

aside” are different terms to describe the same relief.

      B.     Constitutional And Equitable Principles Preclude Universal
             Vacatur In This Case

      The district court entered universal vacatur of the Rule without identifying any

extraordinary circumstances supporting universal relief, and without considering the

balance of equities and the public interest. Had the district court considered the

relevant constitutional and equitable principles, it would have been a clear abuse of

discretion to conclude that universal vacatur was justified. Those principles required

the district court to limit any vacatur to the named plaintiffs and any identified

members of the organizational plaintiffs.




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       First, Article III and equitable principles support limiting relief to the plaintiffs.

Under Article III, “a plaintiff’s remedy must be limited to the inadequacy that

produced his injury.” Gill, 585 U.S. at 66 (alteration and quotation omitted). Equitable

principles reinforce this limitation. A federal court’s authority is generally confined to

the relief “traditionally accorded by courts of equity” in 1789. Grupo Mexicano de

Desarrollo, S.A. v. Alliance Bond Fund, Inc., 527 U.S. 308, 319 (1999). Such relief must

“be no more burdensome to the defendant than necessary to provide complete relief

to the plaintiffs.” Califano v. Yamasaki, 442 U.S. 682, 702 (1979). English and early

American “courts of equity” typically “did not provide relief beyond the parties to the

case.” Trump v. Hawaii, 585 U.S. 667, 717 (2018) (Thomas, J., concurring).

       Thus, to the extent vacatur—rather than specific declaratory or injunctive

relief—was required to redress plaintiffs’ injuries, it should have been limited to the

named plaintiffs. See ROA.5637-38. When entering a plaintiff-specific preliminary

injunction, the district court concluded that universal relief was unwarranted because

plaintiffs had not explained why a more tailored remedy would not “provide complete

relief” to plaintiffs. ROA.3526. The district court should have followed the same

course at final judgment.

       Second, the district court erred in extending relief to the untold numbers of

unidentified members that the associational plaintiffs say they represent, including the

“approximately 300,000 members” and “indirectly … more than three million U.S.

businesses” that the U.S. Chamber of Commerce claims to represent. ROA.1009. As
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the Commission explained in district court, the associational plaintiffs have not

established standing to litigate on behalf of their unidentified members because they

have not shown that they are bona fide membership organizations. Plaintiffs have not

identified any “indicia of membership,” such as “a clearly articulated and

understandable membership structure” with members who “elect[] the governing

body”; nor have they explained how their members direct or control the organization.

Friends of the Earth, Inc. v. Chevron Chem. Co., 129 F.3d 826, 829 (5th Cir. 1997)

(quotation omitted).

       To the contrary, the associational plaintiffs disclaimed any intent to

demonstrate the relevant “indicia of membership,” ROA.4366 (quotation omitted),

arguing that requiring such a showing would be “inconsistent” with the Supreme

Court’s decision in Students for Fair Admissions, Inc. v. President & Fellows of Harvard

College, 600 U.S. 181 (2023). But that decision is inapposite. In Students for Fair

Admissions, an association alleged it had 47 members and sought to proceed on behalf

of four members who filed declarations stating their support for the lawsuit. See id. at

201. The Court noted that where “an organization has identified members and

represents them in good faith, our cases do not require further scrutiny into how the

organization operates.” Id.

       The associational plaintiffs may be able to establish their standing to seek relief

on behalf of the specific members that they have identified—in this case, three

members of the U.S. Chamber of Commerce, see ROA.3761, 3769, 3789—but Students
                                             52
for Fair Admissions does not support these plaintiffs’ standing to seek relief on behalf

of thousands or millions of unidentified members who do not control the associations

or this litigation, and who may not even know about the litigation or that they may be

bound by a judgment. Relief extending to these unidentified members was particularly

inappropriate here, where the associational plaintiffs did not show that their

unidentified members use enforceable non-competes, oppose the Rule, or would

benefit from vacatur. The associations thus failed to carry their burden to prove that

“resolution of the claims benefits the association’s members.” Association of Am.

Physicians & Surgeons, Inc. v. Texas Med. Bd., 627 F.3d 547, 552 (5th Cir. 2010).

       These fundamental rules governing Article III standing for associational

plaintiffs are particularly pressing here, where at least some unidentified members of

these associations likely support and benefit from the Rule. As the Commission

found, and as the comments reflect, the Rule will benefit many businesses by

increasing their ability to hire qualified workers and by spurring innovation. See Small

Bus. Majority, Comment Letter on Proposed Rule, supra; Small Bus. Majority et al.,

Comment Letter on Proposed Rule, supra.

       Even if the associational plaintiffs had established Article III standing to sue on

behalf of their unidentified members, equitable principles warrant limiting relief to

identified members who agreed to be bound by the judgment. Such a restriction on

relief would promote the longstanding equitable principles that a party has one

opportunity for relief and that the effect of any judgment should be bidirectional. Cf.
                                            53
Arizona, 40 F.4th at 397 (Sutton, C.J., concurring). Any contrary approach risks giving

parties multiple bites at the apple, undermining basic principles of preclusion.

      Third, the Commission and public’s substantial interests in the Rule underscore

the need to limit vacatur. Whenever the government “is enjoined by a court from

effectuating statutes enacted by representatives of its people, it suffers a form of

irreparable injury.” Maryland v. King, 567 U.S. 1301, 1303 (2012) (Roberts, C.J., in

chambers) (quotation omitted). That is particularly true here, where the district court

did not dispute the Commission’s determination that non-competes are generally

unfair methods of competition.

      Moreover, as the Commission explained in the Rule, non-competes have

substantial negative effects on workers, competing businesses, and the public. Non-

competes inhibit new business formation and prevent efficient, market-based

matching between workers and employers, which in turn reduces productivity, wages,

and labor mobility. See 89 Fed. Reg. at 38,379-84, 38,388-91, 38,394-95. The

Commission estimated that the Rule would likely have significant salutary effects

across the economy, leading to more than 100,000 new patents, a 2.7% annual

increase in new businesses, increased worker earnings by more than $400 billion over

10 years, and lower consumer prices. See id. at 38,433, 38,470, 38,478. The district

court’s universal vacatur of the Rule undermines all these benefits.




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                                 CONCLUSION

      For the foregoing reasons, the judgment of the district court should be

reversed.

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                          CERTIFICATE OF SERVICE

      I hereby certify that on January 2, 2025, I electronically filed the foregoing brief

with the Clerk of the Court for the United States Court of Appeals for the Fifth

Circuit by using the appellate CM/ECF system. Service will be accomplished by the

appellate CM/ECF system.

                                                 s/ Urja Mittal
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                      CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limit of Federal Rule of Appellate

Procedure 32(a)(7)(B) because it contains 12,970 words. This brief also complies with

the typeface and type-style requirements of Federal Rules of Appellate Procedure

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Garamond 14-point font, a proportionally spaced typeface.

                                               s/ Urja Mittal
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15 U.S.C. § 45(a)
§ 45. Unfair methods of competition unlawful; prevention by Commission
(a) Declaration of unlawfulness; power to prohibit unfair practices;
inapplicability to foreign trade
   (1) Unfair methods of competition in or affecting commerce, and unfair or
deceptive acts or practices in or affecting commerce, are hereby declared unlawful.
     (2) The Commission is hereby empowered and directed to prevent persons,
partnerships, or corporations, except banks, savings and loan institutions described in
section 57a(f)(3) of this title, Federal credit unions described in section 57a(f)(4) of
this title, common carriers subject to the Acts to regulate commerce, air carriers and
foreign air carriers subject to part A of subtitle VII of title 49, and persons,
partnerships, or corporations insofar as they are subject to the Packers and Stockyards
Act, 1921, as amended [7 U.S.C. 181 et seq.], except as provided in section 406(b) of
said Act [7 U.S.C. 227(b)], from using unfair methods of competition in or affecting
commerce and unfair or deceptive acts or practices in or affecting commerce.
   (3) This subsection shall not apply to unfair methods of competition involving
commerce with foreign nations (other than import commerce) unless—
        (A) such methods of competition have a direct, substantial, and reasonably
    foreseeable effect—
           (i) on commerce which is not commerce with foreign nations, or on
        import commerce with foreign nations; or
           (ii) on export commerce with foreign nations, of a person engaged in such
        commerce in the United States; and
        (B) such effect gives rise to a claim under the provisions of this subsection,
    other than this paragraph.
If this subsection applies to such methods of competition only because of the
operation of subparagraph (A)(ii), this subsection shall apply to such conduct only for
injury to export business in the United States.
    (4) (A) For purposes of subsection (a), the term ‘‘unfair or deceptive acts or
practices’’ includes such acts or practices involving foreign commerce that—
           (i) cause or are likely to cause reasonably foreseeable injury within the
        United States; or
            (ii) involve material conduct occurring within the United States.



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          (B) All remedies available to the Commission with respect to unfair and
          deceptive acts or practices shall be available for acts and practices described in
          this paragraph, including restitution to domestic or foreign victims.
...


15 U.S.C. § 46(g)
§ 46. Additional powers of Commission
      The Commission shall also have power—
...
(g) Classification of corporations; regulations
    From time to time classify corporations and (excepted as provided in section
57a(a)(2) of this title) to make rules and regulations for the purpose of carrying out the
provisions of this subchapter.
...


15 U.S.C. § 57a(a)-(b)
§ 57a. Unfair or deceptive acts or practices rulemaking proceedings
(a) Authority of Commission to prescribe rules and general statements of
policy
      (1) Except as provided in subsection (h), the Commission may prescribe—
          (A) interpretive rules and general statements of policy with respect to unfair
      or deceptive acts or practices in or affecting commerce (within the meaning of
      section 45(a)(1) of this title), and
          (B) rules which define with specificity acts or practices which are unfair or
      deceptive acts or practices in or affecting commerce (within the meaning of
      section 45(a)(1) of this title), except that the Commission shall not develop or
      promulgate any trade rule or regulation with regard to the regulation of the
      development and utilization of the standards and certification activities pursuant
      to this section. Rules under this subparagraph may include requirements
      prescribed for the purpose of preventing such acts or practices.
    (2) The Commission shall have no authority under this subchapter, other than its
authority under this section, to prescribe any rule with respect to unfair or deceptive
acts or practices in or affecting commerce (within the meaning of section 45(a)(1) of

                                             A2
this title). The preceding sentence shall not affect any authority of the Commission to
prescribe rules (including interpretive rules), and general statements of policy, with
respect to unfair methods of competition in or affecting commerce.
(b) Procedures applicable
    (1) When prescribing a rule under subsection (a)(1)(B) of this section, the
Commission shall proceed in accordance with section 553 of title 5 (without regard to
any reference in such section to sections 556 and 557 of such title), and shall also
        (A) publish a notice of proposed rulemaking stating with particularity the text
    of the rule, including any alternatives, which the Commission proposes to
    promulgate, and the reason for the proposed rule;
       (B) allow interested persons to submit written data, views, and arguments, and
    make all such submissions publicly available;
       (C) provide an opportunity for an informal hearing in accordance with
    subsection (c); and
        (D) promulgate, if appropriate, a final rule based on the matter in the
    rulemaking record (as defined in subsection (e)(1)(B)), together with a statement
    of basis and purpose.
    (2) (A) Prior to the publication of any notice of proposed rulemaking pursuant to
    paragraph (1)(A), the Commission shall publish an advance notice of proposed
    rulemaking in the Federal Register. Such advance notice shall—
            (i) contain a brief description of the area of inquiry under consideration,
        the objectives which the Commission seeks to achieve, and possible
        regulatory alternatives under consideration by the Commission; and
            (ii) invite the response of interested parties with respect to such proposed
        rulemaking, including any suggestions or alternative methods for achieving
        such objectives.
        (B) The Commission shall submit such advance notice of proposed
    rulemaking to the Committee on Commerce, Science, and Transportation of the
    Senate and to the Committee on Energy and Commerce of the House of
    Representatives. The Commission may use such additional mechanisms as the
    Commission considers useful to obtain suggestions regarding the content of the
    area of inquiry before the publication of a general notice of proposed rulemaking
    under paragraph (1)(A).
       (C) The Commission shall, 30 days before the publication of a notice of
    proposed rulemaking pursuant to paragraph (1)(A), submit such notice to the

                                           A3
      Committee on Commerce, Science, and Transportation of the Senate and to the
      Committee on Energy and Commerce of the House of Representatives.
    (3) The Commission shall issue a notice of proposed rulemaking pursuant to
paragraph (1)(A) only where it has reason to believe that the unfair or deceptive acts
or practices which are the subject of the proposed rulemaking are prevalent. The
Commission shall make a determination that unfair or deceptive acts or practices are
prevalent under this paragraph only if—
         (A) it has issued cease and desist orders regarding such acts or practices, or
          (B) any other information available to the Commission indicates a widespread
      pattern of unfair or deceptive acts or practices.
...


15 U.S.C. § 57b-3(a)
§ 57b-3(a). Rulemaking process
(a) Definitions
      For purposes of this section:
          (1) The term ‘‘rule’’ means any rule promulgated by the Commission under
      section 46 or section 57a of this title, except that such term does not include
      interpretive rules, rules involving Commission management or personnel, general
      statements of policy, or rules relating to Commission organization, procedure, or
      practice. Such term does not include any amendment to a rule unless the
      Commission—
             (A) estimates that such amendment will have an annual effect on the
        national economy of $100,000,000 or more;
              (B) estimates that such amendment will cause a substantial change in the
        cost or price of goods or services which are used extensively by particular
        industries, which are supplied extensively in particular geographic regions, or
        which are acquired in significant quantities by the Federal Government, or by
        State or local governments; or
             (C) otherwise determines that such amendment will have a significant
        impact upon persons subject to regulation under such amendment and upon
        consumers.
         (2) The term ‘‘rulemaking’’ means any Commission process for formulating or
      amending a rule.

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